              Case 3:18-cv-05195-JLR Document 52 Filed 09/25/20 Page 1 of 5




 1

 2

 3

 4

 5

 6

 7
                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10          ANAJEAN PENNY,                               CASE NO. C18-5195JLR

11                               Plaintiff,              ORDER ON MOTIONS IN
                   v.                                    LIMINE
12
            STATE FARM MUTUAL
13
            AUTOMOBILE INSURANCE
14          COMPANY,

15                               Defendant.

16          Before the court is defendant State Farm Mutual Automobile Insurance
17   Company’s (“State Farm”) motions in limine. (See MIL (Dkt. # 35).) Plaintiff Anajean
18   Penny opposes the motions. (See Resp. (Dkt. # 42).) The court has considered the
19   motions, the relevant portions of the record, and the applicable law. Being fully advised,
20   the court DENIES in part and DEFERS ruling in part State Farm’s motions in limine.
21         State Farm’s motions seeks to exclude (1) any opinions of Dr. Joanna Carter that
22   are outside the scope of Ms. Penny’s Federal Rule of Civil Procedure 26(a)(2)(C) witness


     ORDER - 1
                Case 3:18-cv-05195-JLR Document 52 Filed 09/25/20 Page 2 of 5




 1   disclosure (the “first motion in limine”); and (2) any expert or causation opinions from

 2   Ms. Penny’s treating physicians—Dr. Nicholas Baker, Dr. Carter, Dr. Heather Kahn, and

 3   Dr. Eric Dukes—who did not disclose expert opinions under Rule 26(a)(2)(B) (the

 4   “second motion in limine”). (See MIL at 2-5.) Dr. Carter, Dr. Baker, Dr. Kahn, and Dr.

 5   Dukes all provided medical treatment to Ms. Penny after the accident at issue. (See

 6   Staples Decl. (Dkt. # 43), ¶ 3, Ex. A. 1) Ms. Penny did not identify Dr. Carter, Dr. Baker,

 7   Dr. Kahn, or Dr. Dukes as expert witnesses who needed to provide expert reports under

 8   Rule 26(a)(2)(B). (See id.) Instead, Ms. Penny disclosed these witnesses as experts who

 9   did not need to provide expert reports under Rule 26(a)(2)(C). (See id.)

10          Rule 26(a)(2)(A) requires a party to “disclose to the other parties the identity of

11   any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

12   703, or 705.” Fed. R. Civ. P. 26(a)(2)(A). Rule 26(a)(2)(B) states that an expert

13   disclosure must be accompanied by an expert report “if the witness is one retained or

14   specially employed to provide expert testimony in the case.” Fed. R. Civ. P. 26(a)(2)(B).

15   In the Ninth Circuit, treating physicians are not required to present written reports under

16   Rule 26(a)(2)(B) so long as the opinions the witness intends to testify to “were formed

17   during the course of treatment.” Goodman v. Staples The Office Superstore, LLC, 644

18   F.3d 817, 826 (9th Cir. 2011). To the extent that the expert intends “to render expert

19   testimony beyond the scope of the treatment rendered,” however, the expert must provide

20   a written expert report. See id. Although treating physicians need not provide an expert

21
            1
             The exhibits to Mr. Staples’s declaration are attached to Ms. Penny’s response to State
22   Farm’s motions in limine. (See Resp., Exs. A-I.)


     ORDER - 2
                Case 3:18-cv-05195-JLR Document 52 Filed 09/25/20 Page 3 of 5




 1   report in order to testify, if a party intends to offer expert opinions from a treating

 2   physician, Rule 26 still requires the party to disclose “(i) the subject matter on which the

 3   witness is expected to present evidence under Federal Rule of Evidence 702, 703, or 705;

 4   and (ii) a summary of the facts and opinions to which the witness is expected to testify”

 5   for non-retained experts, like treating medical providers. Fed. R. Civ. P. 26(a)(2)(C); see

 6   also Dixon v. Legacy Transportation Sys., LLC, No. 215CV01359JADPAL, 2017 WL

 7   4004412, at *8 (D. Nev. Sept. 11, 2017) (“[P]arties are required to identify the subject

 8   matter on which hybrid experts like treating physicians are intended to offer testimony as

 9   well as a summary of their facts and opinions. The reporting obligations are less onerous

10   than the ones required by Rule 26(a)(2)(B) for retained experts. However, they are

11   mandatory.”). With these standards in mind, the court turns to State Farm’s motions.

12          The court DENIES State Farm’s first motion in limine. State Farm seeks to

13   exclude any opinions from Dr. Carter on topics like “the causal relationship between Dr.

14   Carter’s diagnoses of [Ms. Penny] and the head trauma or traumatic brain injury that [Ms.

15   Penny] allegedly sustained as a result of the subject motor vehicle accident.” (See MIL at

16   2-3.) The court concludes that Ms. Penny’s Rule 26(a)(2)(C) disclosure of Dr. Carter

17   was adequate and permits Dr. Carter to testify regarding the opinions she developed

18   while providing treatment to Ms. Penny. 2 Further, Rule 37 states that testimony may be

19   excluded only if the inadequate disclosure was not substantially justified or is harmless.

20   Fed. R. Civ. P. 37(c)(1). Even if Ms. Penny’s disclosure of Dr. Carter was deficient

21
            2
              To the extent that Dr. Carter’s testimony strays beyond the opinions she developed in
22   the course of her treatment of Ms. Penny, the court addresses that testimony below.


     ORDER - 3
                Case 3:18-cv-05195-JLR Document 52 Filed 09/25/20 Page 4 of 5




 1   under Rule 26(a)(2)(B), the deficiency was harmless in light of the discovery provided by

 2   Ms. Penny on Dr. Carter’s conclusions and State Farm’s ability to review and respond to

 3   Dr. Carter’s testimony. (See Staples Decl., ¶¶ 4-8, Exs. B-F.)

 4          The court DEFERS ruling on State Farm’s second motion in limine. In that

 5   motion, State Farm seeks to exclude any causal opinions from Dr. Carter, Dr. Baker, Dr.

 6   Kahn, and Dr. Dukes on the grounds that causation is an expert opinion that requires an

 7   expert report under Rule 26. (See MIL at 4-5.) Although the court has thoroughly

 8   reviewed the materials provided by the parties, the court will not exclude the causal

 9   opinions at issue in a vacuum. Instead, because this matter will be submitted to the court

10   for a bench trial, the court concludes that its ruling on State Farm’s second motion in

11   limine is best reserved for the court’s findings of facts and conclusions of law. Ms.

12   Penny intends to offer testimony from Dr. Carter, Dr. Baker, Dr. Kahn, and Dr. Dukes via

13   perpetuation deposition. (See Pl. Tr. Br. (Dkt. # 48) at 6-7.) As such, the court will

14   review those depositions as part of the bench trial and will determine whether the

15   opinions at issue were properly disclosed under Rule 26 and the guidance in Goodman

16   for non-retained expert testimony from treating physicians. See Goodman, 644 F.3d at

17   826. In other words, if the court concludes after reviewing the testimony in this matter

18   that any of Ms. Penny’s treating providers’ opinions—on causation or any other issue—

19   stray beyond opinions that “were formed during the course of treatment,” see id., the

20   court will disregard those opinions in its findings of fact and conclusions of law. 3

21
            3
             Deferring ruling on the second motion in limine also allows the court to consider the
22   testimony at issue in light of other potentially applicable evidentiary rules and in the context of


     ORDER - 4
                Case 3:18-cv-05195-JLR Document 52 Filed 09/25/20 Page 5 of 5




 1            In sum, for the reasons set forth above, the court DENIES State Farm’s first

 2   motion in limine and DEFERS ruling on State Farm’s second motion in limine until after

 3   trial.

 4            Dated this 25th day of September, 2020.

 5

 6                                                      A
                                                        JAMES L. ROBART
 7
                                                        United States District Judge
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21
     the trial as a whole, which may yield additional efficiencies. For example, in reviewing the
     depositions, the court may conclude that the testimony at issue is not relevant, not a proper
22   expert opinion, or not persuasive, which would render the second motion in limine superfluous.


     ORDER - 5
